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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Brittany Billetts et al                                                    CASE NUMBER

                                                                                           5:19-cv-01026 JGB(KKx)
                                                         PLAINTIFF(S)
                               v.
Mentor Worldwide, LLC et al                                                        ORDER RE TRANSFER PURSUANT
                                                                                     TO GENERAL ORDER 19-03
                                                                                         (RELATED CASES)
                                                       DEFENDANT(S).

                                                                   NSENT
                                                                 CONSENT

      I hereby consent to the transfer of the above-entitled case
                                                               se to myy calendar,
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                  06/14/2019
                     Date                                                  United
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                                                                                           District Judge
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                                                                   NATION
                                                              DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                                 United States District Judge

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case      2:18-cv-06502 AB(PLAx)             and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                         Kato                  to Magistrate Judge              Abrams                .

           On all documents subsequently filed in this case, please substitute the initials           AB(PLAx)   after the case number
in place of the initials of the prior judge, so that the case number will read            5:19-cv-01026 AB(PLAx)      . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (03/19)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03 (Related Cases)
